Case 2:17-cv-01747-DMG-KS Document 52 Filed 08/18/17 Page 1 of 1 Page ID #:1351



                             UNITED STATES DISTRICT COURT                JS-6 / REMAND
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL

 Case No.    CV 17-1747 DMG (KSx)                                    Date     August 18, 2017

 Title Rexina Mize, et al. v. Mentor Worldwide LLC, et al.


 Present: The Honorable     DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              Kane Tien                                               Not Reported
             Deputy Clerk                                             Court Reporter

    Attorneys Present for Plaintiff(s)                       Attorneys Present for Defendant(s)
              Not Present                                               Not Present

 Proceedings: IN CHAMBERS – ORDER REMANDING ACTION TO STATE COURT

         On August 17, 2017, Plaintiffs filed a second amended complaint. [Doc. 51.] Pursuant
 to the August 17, 2017 Court Order [Doc. # 50], the action is hereby REMANDED this action to
 the Los Angeles County Superior Court.

 IT IS SO ORDERED.




 CV-90                              CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk KT
